                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

 US DOMINION, INC., et al.                       )
                                                 )
       Plaintiffs,                               )
                                                 )
              v.                                 )         Cause No. 1:21-cv-00445-CJN
                                                 )             Judge Carl J. Nichols
 MY PILLOW, INC., and                            )
 MICHAEL J. LINDELL,                             )
                                                 )
       Defendants.                               )


                                   NOTICE OF APPEAL

       Notice is hereby given that Michael J. Lindell appeals to the United States Court of

Appeals for the District of Columbia Circuit from the Order of this Court entered on August

11, 2021 (ECF #53), denying Michael J. Lindell’s motion to dismiss the complaint. The Order

is a collateral order that constitutes a “final decision” under 28 U.S.C. § 1291. Cohen v.

Beneficial Indus. Loan Corp., 337 U.S. 541, 546 (1949); Mitchell v. Forsyth, 472 U.S. 511,

524-530 (1985); Meredith v. Federal Mine Safety and Health Review Commission, 177 F.3d

1042, 1048-1052 (D.C. Cir. 1999). See New York Times Co. v. Sullivan, 376 U.S. 254, 279-

283 (1964).

       This Notice is withdrawn if this Court grants the relief requested in Michael J. Lindell’s

Notice of Joinder in Defendant MyPillow, Inc.’s Motion for Modification of Memorandum

Opinion and Order Dated August 11, 2021, to Include Certification of Controlling Questions

of Law, filed on August 25, 2021 (ECF #59) and the Court of Appeals for the District of

Columbia Circuit permits a 28 U.S.C. § 1292(b) interlocutory appeal to be taken.
 Dated: September 10, 2021                      Respectfully submitted,

                                                /s/ Douglas A. Daniels
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                                                Counsel for Defendant Michael J. Lindell




                              CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing instrument was served
upon all parties of record through the Court’s CM ECF system on September 10, 2021.



                                                  /s/ Douglas A. Daniels
                                                  Douglas A. Daniels




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